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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                        CIVIL MINUTES - GENERAL
 Case No.        2:20-CV 01274                                                 Date        2/10/20
 Title           MILDA RODRIGUEZ VASQUEZ et al v. CHAD F. WOLF, et al




 Present: The Honorable        STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                      Paul M. Cruz                                               N/A
                      Deputy Clerk                                     Court Reporter / Recorder
              Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                            N/A                                                      N/A
 Proceedings:               ORDER DENYING PLAINTIFF’S MOTION FOR A PRELIMINARY
                            INJUNCTION [2] AND DENYING APPLICATION FOR STAY [6]

        Petitioners (“Petitioners”), Milda Rodriguez Vasquez (“Vasquez”) on behalf of herself and her
minor child, M.S.M.R (“Child”), bring this motion for a temporary restraining order (“TRO”) and
application for stay of administrative proceedings against Chad F. Wolf, in his purported capacity as the
acting Secretary of Homeland Security; and William P. Barr, in his official capacity as the Attorney
General of the United States (“Respondents”). For the reasons explained below, the motions are
DENIED.

         I.       Factual Background

       Petitioners were previously detained by ICE in May of 2019. Petitioners missed a scheduled
court hearing on November 4, 2019, and final deportation was ordered. In December of 2019, the Child
suffered a head injury after falling from a shopping cart while out with Vasquez, his mother. Vasquez
sought medical treatment for the Child at Olive View Hospital, where he was quickly referred to UCLA
Medical Center. After examination at UCLA Child was released after overnight observations, and
UCLA doctors recommended a four-week follow-up for further evaluation.

        In late January of 2020, Petitioners were taken into ICE custody to begin deportation
proceedings. Vasquez alerted ICE personnel to the Child’s condition, but no immediate action was
taken. Petitioners were taken by plane to the ICE facility in Dilley, Texas. Respondents maintain the
Child received a full medical evaluation at that time, where he exhibited no abnormalities. Dkt. 8 at 2.




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On February 4, 2020, the Child was taken for evaluation at Children’s Hospital of San Antonio, he was
examined by Resident physician Max McColloster (“Dr. McColloster”) supervised by Dr. Daniella
Vidaurri (“Dr. Viduaurri”). Dr. McColloster ordered an MRI, which was reviewed by the attending
neurologist and did not reveal any abnormalities. Id. The Child was released from the Children’s
Hospital, and ICE prepared to continue deportation proceedings.

         II.     Procedural Background

         Petitioners filed a writ of habeas corpus with this Court on Friday, February 7, 2020 to enjoin
deportation proceedings. The next day, Saturday February 8, 2020, Petitioners moved for a TRO to stop
further transport of Petitioners on an emergency medical basis, provide the Child alternative detention
accommodations, and provide immediate access to a pediatric neurologist and neurosurgeon. Dkt. 4.
Petitioners included declarations from Dr. Amy Cohen (“Dr. Cohen”), a child psychiatrist, and the
Child’s medical records from UCLA. Dkt. 2-2, Exh. 2–5. Petitioners subsequently filed a motion to stay
administrative proceedings until the TRO could be heard by this Court. Dkt. 6. Respondents filed an
opposition on Sunday, February 9, 2020. Dkt. 8. In their opposition, Respondents included declarations
from Dr. Alicia Mills (“Dr. Mills”), a medical doctor contracted by ICE to evaluate detainees. Dkt. 8-2,
and the Child’s medical records from Children’s Hospital of San Antonio. Dkt. 8-2. This Court noticed a
hearing on the pending motions for Monday February 10, 2020 at 10 a.m. In advance of the hearing,
Petitioners further filed the declaration of Dr. Christopher Giza (“Dr. Giza”), a specialist in traumatic
brain injuries at UCLA- Mattel Children’s Hospital. Dkt. 10. The Court fully considered the parties’
pleadings and heard oral argument at the allotted time. At oral argument, the parties did not significantly
alter or supplement the arguments in their pleadings. Because the Court fully considered the parties’
briefs and arguments before the hearing, Petitioners’ application to stay administrative proceedings in
DENIED as moot. See Dkt. 6.

         III.    Analysis

        The gravamen of Petitioners’ argument is that continued deportation of the Child would
constitute a failure to provide adequate medical care on behalf of the Respondents in violation of both
the settlement reached in Flores v. Reno, No. 85-4544 (C.D. Cal. Aug. 12, 1996) (“Flores Settlement”)
and the Due Process clause of the Constitution.

         A plaintiff seeking a TRO must establish the same elements as those seeking a preliminary




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injunction:1 (1) a likelihood of success on the merits; (2) a likelihood of irreparable harm to plaintiffs in
the absence of preliminary relief; (3) the balance of equities tips in plaintiff’s favor; and (4) an
injunction is in the public interest. Winter v. Natural Resources Defense Council, Inc., 555 U.S. 7, 20
(2008). Under the Ninth Circuit’s “sliding scale” approach, a plaintiff may be entitled to a preliminary
injunction if “serious questions going to the merits were raised and the balance of hardships tips sharply
in plaintiff’s favor.” Alliance for Wild Rockies v. Cottrell, 632 F.3d 1127, 1131 (9th Cir. 2011).
However, “plaintiffs must also satisfy the other Winter factors,” including the likelihood of irreparable
harm. Id. at 1135. Because injunctive relief is an “extraordinary remedy,” it may only be awarded “upon
a clear showing that the plaintiff is entitled to such relief.” Winter, 555 U.S. at 22. It is granted to serve
the “underlying purpose of preserving the status quo and preventing irreparable harm just so long as is
necessary to hold a hearing.” Granny Goose Foods, Inc. v. Bhd. of Teamsters and Auto Truck Drivers
Local. No. 70, 415 U.S. 423, 439 (1974).

         1. Likelihood of Success of the Merits

         Petitioners assert they will likely be able to prove the Child’s Due Process rights will be violated
by deportation to Guatemala. Petitioners claims the process of deportation will (1) deprive the Child
adequate medical care as required under the Flores settlement, (2) that their conduct violates both
procedural and substantive Due Process under the Fifth Amendment, and (3) that Respondent’s conduct
is arbitrary and capricious under the Administrative Procedures Act (“APA”). Dkt. 2 at 7-11.
Momentarily setting aside a variety of procedural objections raised by Respondents,2 the Court
concludes that Petitioners have not adequately established a likelihood of success on the merits of any
these claims. The record shows Respondents have provided the Child with adequate medical care based
on the circumstances.

        Even if we consider Petitioners’ challenge to be proper under the Flores settlement, Petitioners
are not likely to succeed on their claims of inadequate medical care because Respondents are only
required to provide: “appropriate routine and emergency medical services to all children in immigration

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  In the Ninth Circuit, the analysis for a TRO or preliminary injunction are “substantially identical . . . .” Stuhlbarg Int'l Sales
Co. v. John D. Brush & Co., 240 F.3d 832, 839 (9th Cir. 2001).
2
  This Court cannot set aside Respondent’s jurisdictional objections, which assert that this Court has no jurisdiction to hear
this case because it is covered by the REAL ID Act. 8 U.S.C. § 1252. However, the Court concludes that because this motion
does not constitute a “direct challenge to an order of removal,” the Court retains jurisdiction over the alleged Constitutional,
APA, and Flores settlement violations alleged here. See Singh v. Gonzales, 499 F.3d 969, 978 (9th Cir. 2007).




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custody.” Dkt. 2 at 10. Respondents have submitted a medical report by the doctor who treated the Child
at the Children’s Hospital of San Antonio, and the declaration of Dr. Mills responsible for treatment at
the ICE camp in Dilley, Texas. Dkt. 2-2 at 1-4, 42-55. Although they are not pediatric neurologist, both
Dr. Mills and Dr. McColloster performed thorough medical evaluations to determine if the Child needed
further emergency medical treatment, and both concluded that he did not. In fact, none of Petitioner’s
experts make assertions to the contrary. At most, Petitioners’ declarants establish the Child should be
reevaluated by an expert as soon as possible. There is no clear indication that any additional emergency
medical treatment is required in the United States.

        Petitioners’ Due Process claims are similarly unavailing. To violate Petitioners’ substantive Due
Process rights, the government must have engaged in conduct that “shock[ed] the conscience . . . .”
George v. Edholm, 752 F.3d 1206, 1217 (9th Cir. 2014) (quoting Rochin v. California, 342 U.S. 165
(1952)). Cases that shock the conscience involve extreme governmental intrusion into a person’s rights.
See Rochin v. California, 342 U.S. 165 (1952) (forced vomiting to retrieve evidence shocked the
conscience); Edholm, 752 F.3d at 1217 (government forced anoscopy and bowel evacuation was
extreme invasion of dignitary, privacy, and bodily integrity interests); Gonzalez-Rivera v. I.N.S., 22
F.3d 1441, 1449 (9th Cir. 1994) (immigration stop based solely on race was egregious constitutional
violation). Here, Respondents have provided treatment from two separate doctors, neither of whom
believe the Child required further emergency care. Following these evaluations, Respondents intend to
proceed with their ordinary deportation procedure. This cannot be said to “shock the conscience” under
the relevant precedent. Further, there is no dispute that Petitioners have fully engaged with the
immigration removal process, preventing further review of the removal process except on extremely
narrow grounds not raised here. See 8 U.S.C. § 1252(e); Thuraissigiam v. U.S. Dep't of Homeland Sec.,
917 F.3d 1097, 1119 (9th Cir. 2019). A procedural Due Process claim would necessarily require this
Court to inquire into that process and is therefore precluded by 8 U.S.C. § 1252(g).

       Finally, the actions of Respondents here, based on the evidence the Court has considered, does
not suggest that Respondent’s current plan of action is “arbitrary, capricious, an abuse of discretion, or
otherwise not in accordance with law,” or “unsupported by substantial evidence.” 5 U.S.C. §§
706(2)(A), (E). Even assuming that the planned deportation of Petitioners would constitute a “final
agency action” subject to judicial review by this Court, 5 U.S.C. § 704, the evidence before this Court
suggests that the Child was given medical care that while not precisely analogous to that ordered by
doctors at UCLA, was sufficient to make the decision to execute the deportation order neither arbitrary
nor capricious. On this basis the Court concludes that Petitioners have not established a likelihood of




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success on the merits.

            2. Irreparable Harm

        Petitioners have failed to show they will suffer irreparable harm from Respondents enforcement
of the deportation order. This is not to understate the potential seriousness of the Child’s injury—
certainly a fall which causes a traumatic brain injury deserves adequate medical treatment—but the harm
from the fall has already been incurred and cannot in any way be attributed to Respondents’ past or
future actions. By the time of the hearing, the Child had been evaluated in-person by at least three
different medical doctors: in the emergency room at ULCA, upon arrival at Dilley by Dr. Mills, and at
the Children’s Hospital of San Antonio. Petitioners have failed to show that the Child requires further
treatment in the United States. Of the five total doctors that have review the Child’s injury (both in
person and through medical records3), only Dr. Cohen, a child psychiatrist reviewing the Child’s
records, directly contraindicates flight—but she is only able to do so from her area of expertise as a
psychiatrist. Dkt. 2-2 at Exh. 3. The Child has already taken a roughly equivalent flight from California
to Texas, but Dr. Cohen is the only physician who has indicated a potential negative consequence to the
Child. The remaining four doctors do not assert that the deportation flight from Texas to Guatemala
poses an immediate risk to the Child’s health or safety due to his medical condition.

        As pediatric neurologist with a specialty in traumatic brain injuries, Dr. Giza would seem to be
most qualified describe the necessary precautions for this type of injury— but Dr. Giza did not explain
how deportation would further injure the Child—just that, if untreated, the Child may suffer long-term
neurological problems from the injury. From examination of the Child’s medical records, Dr. Giza
recounts the Child’s medical history and opines on the risks of untreated traumatic brain injuries in
children, recommending timely expert follow-up. Dkt. 10-2. Dr. Giza’s declaration, however, only
recommends “expert consultation and evaluation with a pediatric TBI specialist as soon as possible.”
Dkt. 10 at 6. It does not contraindicate flight, travel, or sleeping in a bunkbed. The last line of Dr. Giza’s
declaration states “[r]eturning to Guatemala or remaining in detention at this time, with an incomplete
assessment and inadequate treatment, would likely directly lead to an adversely altered life trajectory for
this unfortunate child.” Dkt. 10 at 6. The problems Dr. Giza flags are developmental, affecting the
Child’s “life trajectory.” Id. These issues are not clearly linked to the deportation as opposed to the

3
  Examined via records from Dr. Cohen and Dr. Giza, and in person by Dr. Martes Gomez at ULCA, by Dr. Mills at ICE,
and at Children’s Hospital San Antonino by Dr. McColloster attended by Dr. Viduarri.




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initial injury. Respondents do not have an obligation to continue Petitioners’ medical care indefinitely—
the question is whether the deportation will irreparably harm the Child. The final comment does not
address any of the issues that form the basis for this emergency motion: 1) preventing Petitioners from
boarding the plane to Guatemala, 2) assigning the Child an alternative sleeping arrangement, or 3)
notifying Petitioner’s counsel 72 hours in advance of any movement. Dkt. 2 at 1. The final aspect of
Petitioners’ motion, granting Petitioners immediate access to a pediatric neurologist and neurosurgeon,
does not rise to level of irreparable harm, as Petitioners will be released from custody following
deportation. Under the circumstances here, Respondent’s responsibilities do not extend to Petitioners’
long-term neurological care. Without a clear showing of irreparable harm, the second Winter factor also
tips in favor of Respondents.

         3. Balance of Equities

        In issuing a preliminary injunction, “the district court must balance the harms to both sides
before issuing an injunction . . . .” Disney Enterprises, Inc. v. VidAngel, Inc., 869 F.3d 848, 867 (9th Cir.
2017). In this case, Petitioners have failed to show that they will suffer significant harm from the
removal. Again, this is not to dispute the potentially seriousness of the Child’s injuries, but Petitioners
have failed to show that any harm the Child suffers will result from the deportation as opposed to the
injury. On the other side, Respondents will be harm by a continued injunction of their enforcement of
immigration law. Balancing the equities, the Court cannot conclude Petitioners will suffer a greater harm
than Respondents.

         4. Public Interest

       “Finally, the court must ‘pay particular regard for the public consequences in employing the
extraordinary remedy of injunction.’” VidAngel, Inc., 869 F.3d at 867 (citing Winter, 555 U.S. at 24).
The Court concludes that Respondents have a strong interest in enforcing immigration laws. Every
physician who has physically examined the Child has not contraindicated removal. The Court cannot
reasonably arrest the immigration process based on the second-hand evaluation of an expert
neurosurgeon and a child psychiatrist. As such, the public interest is better served by the continued
enforcement United States immigration law.




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         IV.    Conclusion

        Here, Plaintiff fails to make an adequate showing of both the likelihood of success on the merits,
and the likelihood of irreparable harm in the absence of immediate injunctive relief. Plaintiff has not
made a “clear showing” that she is entitled to immediate injunctive relief, because she has not
established either of the elements discussed above. For the above reasons, Plaintiff cannot meet the
elements necessary for this Court to grant a preliminary injunction and the Court DENIES Plaintiff’s
motion.




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